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                           IN THE_lNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PE~SYL VANIA


JOSEPH FUSCO                                         NO. 2:17-cv-00036-MSG
                     Plaintiff

              V.

UBER TECHNOLOGIES, INC.; RASIER-
PA, LLC,; UISCEBEATHA, INC. d/b/a
CAVANAUGH'S RESTAURA."I\JTand BAR
and :VCAJOR C. FULLER
                     Defendants


                                               ORDER
       AND NOW, this             /ot:t._,   day of OcJ·o~~r       2018, upon consideration of the

Stipulation to the Amend Caption and Complaint it is hereby approved and the caption of the

case is hereby amended and shall hereafter be referenced as follows:



JOSEPH FUSCO                                        NO. 2:17-cv-00036-MSG
                    Plaintiff

              v.

UBER TECIINOLOGIES, INC.; RASIER-
PA, LLC; 39th & SANSOM STREETS
CORP. t/a CAV ANAUGH'S and MAJOR C.
FULLER
                    Defendants


       All future pleadings and other legal filings shall reference the amended caption. It is

further ORDERED that:

       1.          39th & Sansom Streets Corp. t/a Cavanaugh's shall be substituted as a party

defendant for defendant, Uisce Beatha, Inc. d/b/a Cavanaugh 's Restaurant and Bar; and
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       2.      Any and all claims made in Plaintiff's First Amended Complaint against the

original defendant, Uisce Beatha, Inc. d/b/a Cavanaugh's Restaurant and Bar, are deemed to

apply to the substituted defendant, 39th & Sansom Streets Corp. t/a Cavanaugh's.
